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                             United States District Court
                             Southern District of Florida

    United States of America,             )
    Plaintiff                             )
                                          )
    v.                                    )
                                            Criminal Case No. 16-20549-CR-Scola
                                          )
    Philip Esformes,                      )
    Defendant.                            )


              Order Continuing Status Conference – Ends of Justice

          This matter is before the Court on the parties joint motion to continue the
   November 10, 2022, telephonic status conference to set trial date, it is hereby
          Ordered and Adjudged as follows:
          1) Parties joint motion to continue the November 10, 2022, telephonic
   status conference to set trial date (ECF No. 1683) is granted.
          2) The interests of justice served by a continuance outweigh any interest
   of the public or the Defendant in a speedy trial. As a result, the period of delay
   resulting from this continuance C i.e., from the date the Motion was filed,
   October 27, 2022, through the next scheduled status conference, May 5, 2023,
   and until after the appeal of his convictions C is excludable time under 18
   U.S.C. ' 3161(h)(1) and 18 U.S.C. ' 3161(h)(7) of the Speedy Trial Act.
          3) The telephonic status conference to set trial date is continued to
   Friday, May 5, 2023, at 8:30 a.m. before the Honorable Robert N. Scola, Jr.,
   United States District Judge, at 400 North Miami Avenue, Courtroom 12-3,
   Miami, Florida.
          4) Counsel/parties shall dial, preferably from a landline phone, toll free
   1-888-684-8852 five minutes prior to the scheduled time, enter access code
   5939288 followed by the # sign, and then security code 2525 followed by the #
   sign.
          Done and Ordered in Chambers at Miami, Florida, on November 1, 2022.


                                        _______________________________
                                        Robert N. Scola, Jr.
                                        United States District Judge

   cc:   counsel of record
